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 PEARSON, J.

                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION


 HAROLD R. FEEZLE, et al., etc.,                        )
                                                        )       CASE NO. 4:23CV0242
                  Plaintiffs,                           )
                                                        )
         v.                                             )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 RAILWAY CO., et al.,                                   )
                                                        )
                  Defendants.                           )       ORDER

 *   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

 ANDREW ERDOS, et al., etc.,                            )
                                                        )       CASE NO. 4:23CV0268
                  Plaintiffs,                           )
                                                        )
         v.                                             )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 CORPORATION., et al.,                                  )
                                                        )
                  Defendants.                           )       ORDER

 *   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

 CERAMFAB, INC., et al.                                 )
                                                        )       CASE NO. 4:23CV0509
                  Plaintiffs,                           )
                                                        )
                  v.                                    )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 CORPORATION, et al.,                                   )
                                                        )
                  Defendants.                           )       ORDER
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        On March 8, 2023, the Court entered an Order in each of the 18 cases then pending on the

 docket of the undersigned. Since that time, Ceramfab, Inc. v. Norfolk Southern Corp., No.

 4:23CV0509 (N.D. Ohio filed March 13, 2023), has been filed.1

                                                     I.

        On or before March 15, 2023, counsel for Plaintiffs in Ceramfab, Inc. shall participate in

 the preparation of the motion proposing a class counsel organizational structure, including, if

 necessary, a competing structure(s). This motion shall be filed only in Case No. 4:23CV0242

 (i.e. the first-filed case) . See Fed. R. Civ. P. 23(g). The motion shall include in a single

 document the views of all counsel for Plaintiffs in the 22 cases now pending on the docket of the

 undersigned. Attorneys Seth A. Katz and M. Elizabeth Graham are responsible for coordinating

 the final version of the motion and Attorney Jayne Conroy shall file the motion. The motion and

 any briefing regarding it shall not be filed in any of the other pending cases.

                                                    II.

        On or before March 15, 2023, counsel for Plaintiffs in Ceramfab, Inc. shall participate in

 the preparation of a Joint Status Report to be filed only in Case No. 4:23CV0242 setting forth

 their views and the views of defense counsel regarding (1) the potential consolidation of the 22

 cases, pursuant to Fed. R. Civ. P. 42(a), (2) the filing of a Master Consolidated Amended

 Complaint in Case No. 4:23CV0242, and (3) the timing of Defendants’ responsive filing.

 Attorneys Seth A. Katz and M. Elizabeth Graham are responsible for coordinating the final




        1
            At this writing, the total number of related cases is 22.

                                                     2
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 version of the Joint Status Report and Attorney Jayne Conroy shall file it. The Joint Status

 Report and any briefing regarding it shall not be filed in any of the other pending cases.



        IT IS SO ORDERED.


    March 15, 2023                               /s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




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